Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 1 of 19




                     EXHIBIT B
Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 2 of 19




                      EXHIBIT 4
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 3 of 19
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                       UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF CALIFORNIA
3                             SAN JOSE DIVISION
4    _____________________________
5    SPACE DATA CORPORATION,                 )
                                             )
6                 Plaintiff,                 )
                                             )
7                 vs.                        )    Case No.:
                                             )    5:16-cv-03260-BLF
8    ALPHABET INC., and GOOGLE               )
     LLC,                                    )
9                                            )
                  Defendants.                )
10   _____________________________)
11
12            HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
13
14    VIDEOTAPED 30(b)(6) DEPOSITION OF GERALD MARK KNOBLACH
15                       San Francisco, California
16                        Wednesday, July 11, 2018
17                                   Volume I
18
19
20   Reported by:
21   RACHEL FERRIER,
22   CSR No. 6948
23   Job No. 2963534
24
25   PAGES 1 - 244

                                                                 Page 1

                              Veritext Legal Solutions
                                   866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 4 of 19
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1           And then kind of on the periphery of the group,       04:51:27

2    because of the space constraints, other people may or        04:51:30

3    may not have been.                                           04:51:33

4       Q   And how about -- there was a portion of the tour      04:51:35

5    when you were in a conference room and that's when there     04:51:37

6    was Q&A; right?                                              04:51:40

7       A   Yes.                                                  04:51:41

8       Q   And who was in the conference room from the           04:51:41

9    Space Data side of things?                                   04:51:43

10      A   Myself, Jim Wiesenberg, Eric Frische, Jerry           04:51:44

11   Quenneville, and probably that's about it, because you       04:51:49

12   add those four people with, I think, the 11 Google           04:51:58

13   people, that's 15 people in the conference room.     Would   04:52:02

14   have been pretty crowded after that.                         04:52:04

15      Q   Were there any other portions of the tour -- and      04:52:06

16   we are going to spend more time on the tour tomorrow,        04:52:15

17   but were there any other portions of the tour, other         04:52:18

18   than launching the balloon out in the parking lot,           04:52:20

19   beyond the NOC, the area where the payload was on            04:52:26

20   display, and the conference room portion?                    04:52:29

21      A   So the conference room -- we proceeded to this        04:52:31

22   back room where we inflated the balloon for launch.     In   04:52:38

23   that back room, I believe, that time, was the oven we        04:52:42

24   used to cure the balloons and some of the equipment used     04:52:45

25   to launch the balloons.                                      04:52:47

                                                                  Page 237

                               Veritext Legal Solutions
                                    866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 5 of 19
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1            Then we proceeded to the NOC.                        04:52:50

2            Then we proceeded to the balloon manufacturing       04:52:52

3    facility, and they would have seen the process by which      04:52:55

4    we manufacture our balloons.                                 04:52:58

5            Then I believe we proceeded back to the              04:53:02

6    conference room, probably for some lunch, and then,          04:53:06

7    after that, to the manufacturing area to look at the         04:53:08

8    payloads and the details of the payloads.                    04:53:13

9            Then my recollection is we went back to the          04:53:17

10   conference room, and that's probably when the Q&A            04:53:19

11   happened.                                                    04:53:21

12           And then, after that, small groups broke up and      04:53:22

13   went to the areas of interest, so I believe another          04:53:26

14   group from Google went back to the NOC for a second          04:53:28

15   time.   I know I, personally, remember going with Larry      04:53:30

16   Page back to the manufacturing area.       There was some    04:53:33

17   test equipment that Google brought along that they           04:53:39

18   wanted to have us potentially fly and test some signal       04:53:41

19   levels from the balloons, so I think a group of              04:53:44

20   engineers broke off in a small group and talked about        04:53:46

21   how to do that in the future.                                04:53:50

22      Q    So you weren't personally present for all parts      04:53:54

23   of the entire tour; correct?                                 04:53:56

24      A    I was not.                                           04:53:58

25      Q    Okay.   And, by the way, where was the -- I know I   04:53:58

                                                                  Page 238

                                Veritext Legal Solutions
                                     866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 6 of 19
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    have about five minutes left, so I'm going to try and          04:54:03

2    finish my cast of characters and then we will call it a        04:54:05

3    day.                                                           04:54:08

4       A      Okay.                                                04:54:08

5       Q      Where -- you mentioned that -- that there was a      04:54:08

6    couple balloons that were launched as part of the              04:54:13

7    tour --                                                        04:54:16

8       A      Mm-hmm.                                              04:54:16

9       Q      -- and that those were -- you said they were the     04:54:16

10   SkySat model; correct?                                         04:54:19

11      A      No.                                                  04:54:20

12             Minnie Ingersoll launched a SkySite Mark 1           04:54:20

13   900-megahertz payload.        Larry and Sergey -- Larry Page   04:54:25

14   and Sergey Brin launched a SkySat military, mil., UHF          04:54:27

15   payload.                                                       04:54:33

16      Q      Okay.     And where then did you -- was the -- did   04:54:33

17   you monitor the progress of those balloons from the NOC        04:54:35

18   space after the launch?                                        04:54:38

19      A      We did.                                              04:54:39

20             And -- and the purpose -- the purpose of people      04:54:43

21   kind of revisiting it is it takes -- as I've mentioned,        04:54:46

22   balloons rise to a thousand feet per minute, so to get         04:54:49

23   to 60,000 feet takes about than a hour.                        04:54:53

24             So my recollection is we -- we arrived -- they       04:54:56

25   went through sort of the sign-in procedure into the            04:54:57

                                                                    Page 239

                                    Veritext Legal Solutions
                                         866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 7 of 19
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    conference room, and we kind of outlined the agenda,       04:55:00

2    which was kind of:   First, launch the balloons and then   04:55:04

3    do the tour, launch, and then go back; because, by that    04:55:08

4    time, an hour would have elapsed, or more, and you would   04:55:12

5    have been able to see the balloons have leveled off, and   04:55:14

6    then part of that introductionary [sic] comments I made,   04:55:18

7    we also advised everyone that everything they were going   04:55:20

8    to see within the walls of our facility was proprietary    04:55:23

9    and confidential to Space Data and should be treated as    04:55:26

10   such under the NDA we signed with Google.                  04:55:29

11          So then we did the launch as quick as we could,     04:55:31

12   toured the facility, went back to the conference room      04:55:34

13   and grabbed some lunch, and then the SkySat mil. UHF was   04:55:38

14   on display in screens of the manufacturing area next to    04:55:44

15   where the payload was displayed, and the SkySite           04:55:48

16   900-megahertz system that was launched first would have    04:55:52

17   been on a screen in the NOC.     And, at that time, when   04:55:55

18   they went back to the NOC, the balloon would have been,    04:56:00

19   you know, fully leveled off, and they would have seen      04:56:03

20   the entire profile of it going from the ground to its      04:56:06

21   installed location in the sky.                             04:56:09

22      Q   Who did you speak with -- you mentioned that        04:56:10

23   you -- you spoke with people to gather their               04:56:18

24   recollections about what happened during the tour.         04:56:20

25          You also mentioned that it -- you didn't do that    04:56:23

                                                                 Page 240

                               Veritext Legal Solutions
                                    866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 8 of 19
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1             I, the undersigned, a Certified Shorthand
2    Reporter of the State of California, do hereby certify:
3             That the foregoing proceedings were taken before
4    me at the time and place herein set forth; that any
5    witnesses in the foregoing proceedings, prior to
6    testifying, were placed under oath; that a verbatim
7    record of the proceedings was made by me using machine
8    shorthand which was thereafter transcribed under my
9    direction; further, that the foregoing is an accurate
10   transcription thereof.
11            I further certify that I am neither financially
12   interested in the action nor a relative or employee of
13   any attorney or any of the parties.
14            IN WITNESS WHEREOF, I have this date subscribed
15   my name.
16
17   Dated:     July 18, 2018
18
19
20
21
22
23                        <%signature%>
24                        RACHEL FERRIER
25                         CSR No. 6948

                                                              Page 244

                              Veritext Legal Solutions
                                   866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 9 of 19


1                        UNITED STATES DISTRICT COURT
2                     NORTHERN DISTRICT OF CALIFORNIA
3                               SAN JOSE DIVISION
4    _____________________________
5    SPACE DATA CORPORATION,                     )
6                  Plaintiff,                    )
7                  vs.                           )Case No.:
8    ALPHABET INC., and GOOGLE                   )5:16-cv-03260-BLF
9    LLC,                                        )
10                 Defendants.                   )
     _____________________________)
11
12             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
13
14           CONTINUED VIDEOTAPED 30(b)(6) DEPOSITION OF
15                           GERALD MARK KNOBLACH
16                        San Francisco, California
17                          Thursday, July 12, 2018
18                                       Volume 2
19
20
21   Reported by:
22   RACHEL FERRIER, CSR No. 6948
23   Job No. 2963535
24
25   PAGES 245 - 471

                                                              Page 245

                              Veritext Legal Solutions
                                   866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 10 of 19


1            So when did the Google group arrive at                    11:45:33

2    Space Data?                                                       11:45:36

3       A    I don't have -- I believe that they would have            11:45:38

4    arrived around 10:00 a.m.                                         11:45:48

5       Q    Approximately.                                            11:45:57

6       A    More or less.    I don't have a good exact timeline       11:45:57

7    for that.     I don't think, when they signed into our            11:46:00

8    sign-in book, that they put a time on their sign-in               11:46:02

9    time.                                                             11:46:07

10           So the overall objective, typically, when we do           11:46:09

11   these tour [sic] was to get them -- I mean, obviously             11:46:12

12   Google has -- was coming -- the stated purpose of the             11:46:18

13   NDA by which they were visiting was to evaluate an                11:46:22

14   acquisition of shares or assets of Space Data.         We had     11:46:26

15   not hosted someone in the company with that type of               11:46:28

16   purpose ever before.     We were under NDA.      We had patents   11:46:31

17   in the U.S. and worldwide.     We had instructed people to        11:46:34

18   be quite open about sharing because Google would get              11:46:38

19   kind of unprecedented access to the facility compared to          11:46:42

20   other people because, one, they might want to buy                 11:46:45

21   everything, so they deserved answers to a fairly broad            11:46:50

22   list of questions as opposed to other NDAs when we were           11:46:55

23   partnering on a specific topic.       And, secondly, Google       11:46:58

24   was coming with people of the education level and                 11:47:01

25   experience that could actually understand what we were            11:47:05

                                                                       Page 324

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 11 of 19


1    "tour."                                                        11:50:49

2              THE WITNESS:   I would have a difficult time         11:50:49

3    quantifying them and understanding -- I mean, nothing to       11:50:54

4    the level -- we had never given a tour to the level we         11:51:00

5    gave to Google, with as much tour, time, and detail.           11:51:03

6    And although this agenda, you know, has time lines on          11:51:08

7    it, the tour that day proceeded at Google's pace.        You   11:51:12

8    know, sort of when they were done asking questions and         11:51:18

9    inquiring about a certain area they were in, we would          11:51:20

10   move on.     It wasn't like there was a script to it.          11:51:22

11   BY MR. WERDEGAR:                                               11:51:26

12      Q      How many people have you given a tour of the NOC     11:51:27

13   to in your time at Space Data?                                 11:51:28

14      A      Like I said, it's difficult to quantify, but I       11:51:33

15   would say -- so if you include the military that showed        11:51:46

16   up, the couple big days of the military, you know, a           11:51:55

17   couple dozen people at least.                                  11:52:00

18      Q      What time did the Google group leave on the 15th?    11:52:01

19      A      I recall them leaving around 2:30, 3:00 p.m.         11:52:06

20   probably.                                                      11:52:12

21      Q      Okay.   So conference room and introductions was     11:52:12

22   first after checking in.                                       11:52:27

23             And then you set out to the -- to do a balloon       11:52:32

24   launch; right?                                                 11:52:34

25      A      Conference room, introductions, and a statement      11:52:35

                                                                    Page 328

                                  Veritext Legal Solutions
                                       866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 12 of 19


1             I, the undersigned, a Certified Shorthand
2    Reporter of the State of California, do hereby certify:
3             That the foregoing proceedings were taken before
4    me at the time and place herein set forth; that any
5    witnesses in the foregoing proceedings, prior to
6    testifying, were placed under oath; that a verbatim
7    record of the proceedings was made by me using machine
8    shorthand which was thereafter transcribed under my
9    direction; further, that the foregoing is an accurate
10   transcription thereof.
11            I further certify that I am neither financially
12   interested in the action nor a relative or employee of
13   any attorney or any of the parties.
14            IN WITNESS WHEREOF, I have this date subscribed
15   my name.
16
17   Dated: July 19, 2018
18
19
20                                     <%signature%>
21                                     RACHEL FERRIER
22                                     CSR No. 6948
23
24
25

                                                               Page 471

                               Veritext Legal Solutions
                                    866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 13 of 19
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                          UNITED STATES DISTRICT COURT
2                      NORTHERN DISTRICT OF CALIFORNIA
3                                 SAN JOSE DIVISION
4    _____________________________
                                                    )
5    SPACE DATA CORPORATION,                        )
                                                    )
6                   Plaintiff,                      )
                                                    )
7                   vs.                             )Case No.:
                                                    )5:16-cv-03260-BLF
8    ALPHABET INC., and GOOGLE                      )
     LLC,                                           )
9                                                   )
                    Defendants.                     )
10   _____________________________)
11
12
13      HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
14     CONTINUED VIDEOTAPED 30(b)(6) DEPOSITION OF
15                        GERALD MARK KNOBLACH
16                   San Francisco, California
17                        Monday, July 16, 2018
18                                Volume 3
19
20
21
22   Reported by:
23   RACHEL FERRIER, CSR No. 6948
24   Job No. 2966005
25   PAGES 472 - 688

                                                               Page 472

                               Veritext Legal Solutions
                                    866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 14 of 19
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1    Mr. Sharma?                                                 10:56:27

2       A   I mean, I would have to go back and -- I assume      10:56:28

3    that, since it's attached to this e-mail, it's what was     10:56:31

4    attached to the e-mail.     It looks similar to what we     10:56:34

5    used to call the 18-page deck, but I think it probably      10:56:38

6    is more than that one.     I guess it's 18 pages, yeah.     10:56:43

7       Q   And that -- the deck that's attached here in         10:56:56

8    Exhibit 1270, this is not a -- this is not a deck that      10:57:00

9    Space Data considered to be confidential; correct?          10:57:04

10      A   No.     This is a marking [sic] piece we developed   10:57:05

11   to -- as I mentioned in prior testimony last week, we       10:57:08

12   were -- had an outreach program to various bidders in       10:57:12

13   the 700-megahertz auction that was upcoming, trying to      10:57:15

14   market our benefits for teaming with Space Data to          10:57:19

15   participate in that auction and building of the networks    10:57:22

16   after that auction.                                         10:57:25

17      Q   And you didn't have a non-disclosure or              10:57:26

18   confidentiality agreement with Mr. Sharma, did you?         10:57:30

19      A   We did not.                                          10:57:32

20      Q   And you didn't have one with The Wall Street         10:57:33

21   Journal, did you?                                           10:57:36

22      A   We did not.                                          10:57:36

23      Q   Okay.     And what date did Mr. Sharma actually      10:57:36

24   visit Space Data?                                           10:57:40

25      A   I believe he visited on Tuesday, the week before     10:57:44

                                                                 Page 533

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 15 of 19
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1    the Google visit on Friday, so if Google visited on the        10:57:53

2    15th of February and that was a Friday, that makes the         10:57:59

3    prior Friday the 8th; right?     8, 7, 6 -- must have been     10:58:05

4    like the 5th, I would guess.                                   10:58:13

5       Q   So a few days after the e-mail exchange you are         10:58:14

6    having in Exhibit 1270 but before you left for your trip       10:58:16

7    to Alaska you have testified about; correct?                   10:58:20

8       A   Correct.                                                10:58:22

9       Q   Okay.   And roughly -- I won't hold you to the          10:58:22

10   date, but around February 5th, 2008?                           10:58:24

11      A   Plus or minus a day probably.                           10:58:26

12      Q   Okay.   And when Mr. Sharma visited Space Data, he      10:58:28

13   received a tour of your facilities; correct?                   10:58:35

14      A   I mean, he was walked through the facility.             10:58:37

15          I mean, you have to understand, there's a big           10:58:41

16   difference between the level of the tour you have -- I         10:58:43

17   mean, you could say he walked through the NOC and              10:58:46

18   there's lots of screens and a map on the wall.       You can   10:58:48

19   say, well, here's the NOC versus, like, the tour that          10:58:52

20   Google got where you are drilling into every single            10:58:55

21   computer screen and every single tab, and so there's a         10:58:58

22   huge spectrum when you say "tour."                             10:59:01

23          I would say that Mr. Sharma got sort of on the          10:59:04

24   light end of the spectrum.     He -- he got taken through      10:59:06

25   the facility quickly.                                          10:59:07

                                                                    Page 534

                               Veritext Legal Solutions
                                    866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 16 of 19
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1       Q   Well, how long was he at Space Data that day?         10:59:09

2       A   I would recall a couple hours because I think         10:59:11

3    he -- I recall meeting him at the -- the Phoenix airport     10:59:24

4    in the afternoon and February, so -- so in the winter we     10:59:27

5    are two hours off the East Coast, so by the time you         10:59:37

6    catch a morning flight to the East Coast and flight out,     10:59:39

7    you get in at, like, 2:00ish in the afternoon, and we        10:59:42

8    came over to the office, and we -- we both picked him up     10:59:47

9    at the airport, took him to the office, had our              10:59:50

10   meetings, and then dropped him at a Radisson Hotel near      10:59:52

11   I-10, so he would have to go through the time delay of       10:59:57

12   getting a car and returning a car.                           10:59:59

13      Q   Okay.    So he was -- some portion of the afternoon   11:00:01

14   he visited Space Data?                                       11:00:04

15      A   Right.                                                11:00:05

16          So, I mean, just -- I don't recall exactly, but       11:00:06

17   just given when flights, I think, come in from the East      11:00:08

18   Coast, if you take an early morning one, 8:00 -- you         11:00:12

19   know, it's a five-hour flight, and then you got a            11:00:16

20   two-hour time change, so you get in at 2:00 or 3:00 or       11:00:19

21   something, so he's at the office by, you know, 3:30,         11:00:23

22   4:00 o'clock.                                                11:00:27

23      Q   Okay.    So your best estimate is he was on site      11:00:27

24   for about two hours?                                         11:00:30

25      A   I would say somewhere between an hour and two         11:00:31

                                                                  Page 535

                                Veritext Legal Solutions
                                     866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 17 of 19
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1    hours.                                                             11:00:36

2       Q     Okay.    And during that time, he received -- I           11:00:37

3    understand your point that it's not as detailed as you             11:00:40

4    say the Google tour was --                                         11:00:42

5       A     Right.                                                    11:00:44

6       Q     -- but he was -- he was in the Network Operation          11:00:45

7    Center, the NOC; correct?                                          11:00:48

8       A     He -- he was walked through the NOC, yes.                 11:00:49

9       Q     Okay.    And was he -- he was in the balloon              11:00:51

10   manufacturing area; correct?                                       11:00:53

11      A     He was walked through the balloon manufacturing           11:00:54

12   area, yes.                                                         11:00:57

13      Q     And who was doing the walking, by the way?                11:00:57

14      A     Jim Wiesenberg and I.                                     11:00:59

15      Q     Okay.    And he was in the -- the production area         11:01:00

16   where the payloads are assembled; correct?                         11:01:03

17      A     He was in the production area where the payloads          11:01:05

18   were assembled, but I -- I'm not sure if we would have             11:01:07

19   had, like, the payloads all disassembled kind of, you              11:01:12

20   know, lined up on a table like we did for Google.                  11:01:16

21      Q     Do you know one way or the other?        Can you --       11:01:18

22      A     I don't know one way or the other.        Yeah, I don't   11:01:20

23   know one way or the other whether we had actually, like,           11:01:26

24   splayed out a payload to its components for him.                   11:01:28

25      Q     Okay.    And he had a camera with him; correct?           11:01:30

                                                                        Page 536

                                  Veritext Legal Solutions
                                       866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 18 of 19
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1       A   Yeah, I remember him commenting kind of that this   11:01:32

2    was a new thing for him; that, at the time, reporters      11:01:36

3    had always, I think traditionally, just had a notebook     11:01:39

4    and taken notes, and he was being asked by his editor to   11:01:43

5    kind of have some multimedia part of it, so back in        11:01:46

6    2008, unlike today, most -- most articles did not -- you   11:01:49

7    know, basically, no articles had a video or pictures,      11:01:55

8    you know, accompanying them.                               11:01:58

9       Q   But in the -- in the new era of media that was      11:01:59

10   emerging in 2008, he had a camera with him, and,           11:02:03

11   ultimately, he prepared both a written article but also    11:02:05

12   there's a video story; correct?                            11:02:10

13      A   Right.                                              11:02:12

14          So, I mean, he had sort of a small digital, you     11:02:13

15   know, point-and-shoot camera of fairly -- probably low     11:02:17

16   resolution for the day, and he -- he took some video       11:02:20

17   that was later posted, and I remember the video actually   11:02:24

18   was posted again on The Wall Street Journal site,          11:02:26

19   because I think at the end of 2008, it was determined to   11:02:29

20   be one of the best videos -- or voted to be one of the     11:02:31

21   best videos of the year, and there was sort of --          11:02:33

22   another replay of it in December.                          11:02:37

23      Q   Do you know what make and model of camera he had    11:02:39

24   with him?                                                  11:02:41

25      A   I do not.                                           11:02:41

                                                                 Page 537

                               Veritext Legal Solutions
                                    866 299-5127
     Case 5:16-cv-03260-BLF Document 632-2 Filed 07/26/19 Page 19 of 19
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1             I, the undersigned, a Certified Shorthand
2    Reporter of the State of California, do hereby certify:
3             That the foregoing proceedings were taken before
4    me at the time and place herein set forth; that any
5    witnesses in the foregoing proceedings, prior to
6    testifying, were placed under oath; that a verbatim
7    record of the proceedings was made by me using machine
8    shorthand which was thereafter transcribed under my
9    direction; further, that the foregoing is an accurate
10   transcription thereof.
11            I further certify that I am neither financially
12   interested in the action nor a relative or employee of
13   any attorney or any of the parties.
14            IN WITNESS WHEREOF, I have this date subscribed
15   my name.
16
17   Dated:     July 23, 2018
18
19
20
21
22
23                             <%signature%>
24                             RACHEL FERRIER
25                             CSR No. 6948

                                                               Page 688

                               Veritext Legal Solutions
                                    866 299-5127
